          Case 9:16-cv-81871-KAM Document 338-12 Entered on FLSD Docket 10/15/2018 Page 1 of 1
STATE OF F LO RIDA UNIFORM CO MMERCIAL CODE
FINANCING STATEMENT AMENDMENT FORM                                                                                                                                                               FLORIDA SECURED TRANSACTION REGISTRI
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Joseph Walsh 561.282.6102
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